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Plaintiff,

v. Misc. No. 00-MC~028

ARTHUR W. ANDERSON, SR.,r and
JERRY L. HOLLINGSWORTH,

w"v`-F`fvv`,v`-I

Defendants.

 

ORDER DENYING DEFENDANTS’ MOTION FOR RECUSAL
ORDER DENYING DEFENDANTS' MOTION FOR RECONSIDERATION OF THE
COURT'S SEPTEMBER 7, 2004, ORDER
AND
ORDER DENYING DEFENDANTS' MOTION TO REASSIGN ALL REMAINING ISSUES
TO THE UNITED STATES MAGISTRATE JUDGE

 

Before the Court is Defendants' motion for recusal pursuant
to 28 U.S.C. § 144, second renewed motion for reconsideration of
the Court's September 7, 2004, order,1 and motion to reassign all
remaining issues to the United States Magistrate Judge, filed
September 29, 2004. Plaintiff did not file a response to
Defendants' motions.

Defendants move for recusal pursuant to 28 U.S.C. § 144.

This statute provides that:

 

l Defendants' motion seeks reconsideration of the Court’s
September 17, 2004, order. However, the record in this case
reveals that no order Was issued on September 17, 2004. Instead
the record shows that the Court issued an order on September 7,
2004, denying Defendants' motion for reconsideration of an order
issued by the Court on August 9, 2004, and denying Defendants'
motion to refer all future filings to the United States
Magistrate Judge.

Thls document entered on the docket sheet in comp!iance
with nule se and/or 79(a) FRGP on ’ 6

 

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Whenever a party to any proceeding in a district court
makes and files a timely and sufficient affidavit that
the judge before whom the matter is pending has a
personal bias or prejudice either against him or in
favor of any adverse party, such judge shall proceed no
further therein, but another judge shall be assigned to
hear such proceeding.

The affidavit shall state the facts and the reasons for
the belief that bias or prejudice exists, and shall be
filed not less than ten days before the beginning of
the term at which the proceeding is to be heard, or
good cause shall be shown for failure to file it within
such time. A party may file only one such affidavit in
any case. It shall be accompanied by a certificate of
counsel of record stating that it is made in good
faith.

28 U.S.C. § 144. An affidavit filed pursuant to § 144 must
“‘allege[ ] facts which a reasonable person would believe would
indicate a judge has a personal bias against the moving party.’”
Youn v. Track, Inc., 324 F.3d 409, 423 (6th Cir. 2003) (qUOting
Gen. Aviation, Inc. v. Cessna Aircraft. Co., 915 F.2d 1038, 1043
(6th Cir. 1990)).

In addition, 28 U.S.C. § 455 requires a district judge to
recuse him or herself from a case in certain circumstances. That
statute provides, in pertinent part, that:

(a) Any justice, judge, or magistrate judge of the
United States shall disqualify himself in any
proceeding in which his impartiality might reasonably

be questioned.

(b) He shall also disqualify himself in the following
circumstances:

(1) Where he has a personal bias or prejudice
concerning a party, or personal knowledge of
disputed evidentiary facts concerning the
proceeding;

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28 U.S.C. § 455. The United States Court of Appeals for the
Sixth Circuit has stated that “[u]nder 28 U.S.C. §§ 144 and 455,
a judge must recuse [him or herself] if a reasonable, objective
person, knowing all of the circumstances, would have questioned
the judge’s impartiality.” Hudhes v. United States, 899 F.2d
1495, 1501 (6th Cir. 1990). In addition, courts are required to
give consideration to whether a judge's alleged bias is derived
from an extrajudicial source, although the fact that a judge’s
opinion about the case or a party stems from such a source is
neither necessary nor sufficient to require recusal. Bell v.
Johnson, 404 F.3d 997, 1005 (6th Cir. 2005) (citing Li;§ky_y*

United States, 510 U.S. 540 (1994)).

Upon review of the Defendants' submissions and affidavits,
and the record in this case, the Court finds that recusal is not
warranted and therefore DENIES Defendants' motion for recusal
pursuant to 28 U.S.C. § 144. In addition, because good cause has
not been shown, the Court DENIES Defendants' motions to
reconsider the Court’s September 7, 2004, order and to reassign

all remaining issues to the United States Magistrate Judge.

So ORDERED this §§ day of July, 2005.

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P. MCCALLA
I'I‘ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 162 in
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Honorable J on McCalla
US DISTRICT COURT

